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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                     TYLER DIVISION


 UNITED STATES OF AMERICA                       §
                                                §
                                                §      CRIMINAL ACTION NO. 6:14cr58
 v.                                             §
                                                §
 JEREMY JEROME GRAY (06)                        §

                                               ORDER

           The above entitled and numbered criminal action was referred to United States Magistrate

 Judge John D. Love pursuant to 28 U.S.C. § 636(b)(3). The Report of the Magistrate Judge which

 contains his proposed findings of fact and recommendations for the disposition of such action, has

 been presented for consideration. The parties have made no objections to the Report and

 Recommendation.

           The Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct and hereby adopts the Report of the United States Magistrate Judge as the findings and

 conclusions of this Court. It is therefore ORDERED that the Defendant’s plea of guilty is accepted

 and approved by the Court. Accordingly, the Court finds the Defendant guilty of Count One of the

 Indictment. Finally, the plea agreement is approved conditioned upon a review of the presentence

 report.

           So ORDERED and SIGNED this 24th day of March, 2015.




                                 __________________________________
                                 LEONARD DAVIS
                                 UNITED STATES DISTRICT JUDGE
